                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        DOCKET NO. 3:11-CR-153-RJC-DCK

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )
                                           )       ORDER
HAI VAN NGUYEN and                         )
OANH THI LE,                               )
                                           )
                     Defendants.           )
                                           )

       THIS MATTER IS BEFORE THE COURT on Defendant Oanh Thi Le’s “Motion To

Seal Defendant’s Motion To Redact” (Document No. 85) filed on March 31, 2012. This motion

has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and

immediate review is appropriate. Having carefully reviewed the motion and the record, and for

good cause shown, the undersigned will grant the motion.

       IT IS, THEREFORE, ORDERED that Defendant Oanh Thi Le’s “Motion To Seal

Defendant’s Motion To Redact” (Document No. 85) is GRANTED.



                                               Signed: April 2, 2012




     Case 3:11-cr-00153-RJC-DCK          Document 90       Filed 04/02/12   Page 1 of 1
